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                              No. 24-5176


         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


                      DENA GRIFFITH, ET AL.,
         individually and on behalf of those similarly situated,
                          Plaintiff-Appellant,
                                   v.
                          AMAZON, INC.,
                         Defendant-Appellee.
                   __________________________
             Appeal from the United States District Court
               for the Western District of Washington
                  Civil Case No. 2:22-cv-00743-TL
                        (Honorable Tana Lin)

         PLAINTIFF-APPELLANT’S OPENING BRIEF

ADAM J. BERGER                            BORDE LAW PLLC
SCHROETER, GOLDMARK & BENDER              Manish Borde, WSBA #39503
401 Union Street, Suite 3400              600 Stewart St., 400
Seattle, WA 98101                         Seattle, WA 98101
Telephone: 206/622-8000
                                          LAW OFFICES OF
                                           RONALD A. MARRON
                                          Ronald A. Marron (pro hac vice)
                                          Michael T. Houchin (pro hac vice)
                                          Lilach Halperin (pro hac vice)
                                          651 Arroyo Drive
                                          San Diego, CA 92103

                   Attorneys for Plaintiff-Appellant
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                               INTRODUCTION

      In 2018, Defendant-Appellee Amazon.com, Inc., one of the largest

corporations in the world, acquired popular retail grocer Whole Foods Market. It

then specifically promoted free delivery from Whole Foods Market as a benefit of

membership in its Prime subscription service as a means of inducing consumers to

sign up for Prime. This promotion had the desired effect, and helped Amazon

significantly boost Prime membership and increase the annual cost of a Prime

subscription in the three years following Amazon’s acquisition of Whole Foods

Market.

      However, in October 2021, Amazon pulled the rug out from under its Prime

members, and began charging them $9.95 for Whole Foods deliveries, even while it

continued to advertise free grocery deliveries as a benefit of Prime. Prime members

did not receive any refund or rebate of their annual subscription fee when Amazon

made this change, nor did they have any ability to cancel their annual subscription

and receive a refund in response to Amazon’s action.

      Plaintiff Dena Griffith is one of the consumers who was caught by Amazon’s

bait and switch advertising and Amazon’s unilateral termination of the free Whole

Foods delivery service. She signed up for Prime after seeing Amazon’s ads for free

Whole Foods delivery and was taken by surprise when Amazon surreptitiously



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slipped in the $9.95 fee to one of her purchases. After seeing Amazon’s ongoing

advertisements of free grocery deliveries for Prime members, she brought this

putative class action lawsuit to challenge Amazon’s unfair and deceptive conduct

and its breach of its Prime contract with her and other consumers.

      At issue here is whether a huge multinational corporation can be held to

account for its promises to its customers: whether Amazon’s advertising, which

promised free grocery delivery for Prime members, and did not mention Amazon’s

alleged authority to unilaterally drop this benefit at any time, had the capacity to

mislead ordinary consumers within the meaning of the Washington Consumer

Protection Act (“CPA”); whether Amazon’s termination of the service without

refund or recourse to annual Prime subscribers was unfair under the CPA; and

whether Amazon breached its contract with Prime members, or at minimum

breached its duty of good faith and fair dealing, by unilaterally removing the service.

The district court erred in holding that Griffith did not state plausible claims on these

grounds and in dismissing her complaint as a matter of law and undisputed fact and

with no opportunity for discovery.




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                       JURISDICTIONAL STATEMENT

      The district court had jurisdiction over this putative class action under the

Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d). On August 28, 2024, the

district court entered final judgment in favor of Amazon.com, Inc. 1-ER-2-3.

Plaintiff noticed her appeal on August 15, 2024. 3-ER-342-347. This Court has

jurisdiction over Plaintiff’s appeal under 28 U.S.C. § 1291. See Weston Family

P’ship v. Twitter, Inc., 29 F.4th 611, 618-19 (9th Cir. 2022) (holding that the Court

had jurisdiction over a premature appeal where the district court subsequently

entered a final judgment).

                        STATEMENT OF THE ISSUES

   1. Whether Plaintiff plausibly pled that Amazon engaged in deceptive and unfair
      conduct in violation of the Washington Consumer Protection Act where she
      alleged that Amazon charged Prime members $9.95 for deliveries from Whole
      Foods Markets while advertising free grocery deliveries, including from
      Whole Foods Markets, as a benefit of Prime membership, and where those
      advertisements omitted any notice or disclosure that Amazon could eliminate
      the free Whole Foods Market delivery service at any time?

   2. Whether Plaintiff plausibly pled that Amazon engaged in unfair conduct in
      violation of the Washington Consumer Protection Act where she alleged that
      Amazon failed to provide any refund or recourse to annual Prime subscribers
      after terminating the free Whole Foods Market delivery service?




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   3. Whether Plaintiff plausibly pled a claim for breach of contract where she
      alleged that Amazon’s promise of free Whole Foods Market deliveries for
      Prime members, as set forth in its advertising, became a term integrated into
      the Prime membership contract?

   4. Whether the district court’s construction of the Prime membership contract,
      which gives Amazon unfettered unilateral discretion to terminate any Prime
      member benefit at any time without recourse by the consumer, would
      improperly turn the agreement into an illusory contract?

   5. Whether Plaintiff plausibly pled a claim for breach of the implied duty of good
      faith and fair dealing where she alleged that Amazon’s termination of the free
      Whole Foods Market delivery service abused its discretion to remove benefits
      under the Prime contract, evaded the spirit of its bargain with Prime
      consumers, and willfully rendered imperfect performance under the contract,
      especially in light of its specific promotion of free Whole Foods Market
      deliveries as an inducement to Prime memberships and its surreptitious
      collection of the delivery fee.

                         STATEMENT OF THE CASE

   I.      Factual Background

        Defendant Amazon.com, Inc. (“Amazon”) is the world’s largest online

marketplace. 2-ER-142 (First Amended Consolidated Class Action Complaint, or

“FAC”) ¶ 5.

        Amazon offers a service called Amazon Prime, which is a paid subscription

service that gives members access to additional services otherwise unavailable or

available at a premium to other Amazon customers. FAC ¶ 7, 2-ER-143. As of

January 2024, Amazon charged its customers approximately $14.99 per month or



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$139 per year for an Amazon Prime membership. Id. ¶ 8. The terms of Amazon’s

relationship with its Prime members are set forth in part in Amazon’s Prime Terms

and Conditions, FAC Ex. 1, 2-ER-136-140, and Amazon’s Conditions of Use, 2-ER-

239-246 (Buckley Decl., Ex. A).

      In August 2017, Amazon acquired Whole Foods Market (“WFM”), a

supermarket chain with approximately 500 stores in North America that is popularly

known for its selection of organic foods. FAC ¶ 10, 2-ER-145. Following this

acquisition, Amazon began advertising “FREE Delivery” and “FREE 2-Hour

Grocery Delivery,” including deliveries from Whole Foods Market, as a benefit of

Prime membership. FAC ¶¶ 9, 11-12, 35, 2-ER-143-146, 152-153. Amazon made

these representations on its website and in television and print advertisements. Id.

¶¶ 9, 11 (including photos of “representative examples” from website).

      Amazon’s acquisition of Whole Foods Market and promotion of free Whole

Foods delivery corresponded with a tremendous growth in the number of Prime

subscribers and the annual fees charged by Amazon for Prime membership. On May

11, 2018, Amazon raised the cost of an annual Prime membership from $99 to $119,

with the price increase going into effect for renewing members on June 16, 2018.

FAC ¶ 20, 2-ER-150. At that time, Amazon had approximately 100 million Prime

members worldwide. Id. By April 2021, when the cost of an annual Prime



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membership had climbed to $139, Amazon reported that Prime had more than 200

million subscribers worldwide. FAC ¶ 7-8, 2-ER-143.

      Amazon understood that offering free Whole Foods delivery to Prime

members increased the monetary value of Prime. In 2018, Amazon’s Chief Financial

Officer, Brian Olsavsky, claimed that the increased cost of a Prime membership was

a natural consequence of the growing benefits associated with a Prime membership,

which would include free deliveries from Whole Foods. FAC ¶ 21, 2-ER-150.

Moreover, deliveries from Whole Foods Market proved wildly popular, especially

during the Covid-19 pandemic, when Whole Foods Market deliveries more than

tripled from 2019 to 2020. Id. ¶ 22.

      Contrary to the advertised benefit of free deliveries, however, Amazon began

charging Prime members a $9.95 “service fee” for all grocery deliveries from Whole

Foods Market in approximately October 2021. FAC ¶ 13, 2-ER-146-147. Amazon

did not reduce the cost of a Prime membership after ending the free Whole Foods

delivery service, nor did it provide any refund of membership fees or recourse to

existing Prime members. FAC ¶¶ 23, 34, 2-ER-150-152. Moreover, with very

limited exceptions, Prime members with an annual membership could not cancel

their subscription in response to Amazon’s termination of the free Whole Foods

Market delivery program until their next annual renewal date. Id., ¶ 23; see also



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FAC Ex. 1, 2-ER-137 (providing that Amazon will refund an annual Prime

membership fee only if cancelled within three days of the start of the membership

or if the subscriber has not used any Prime benefits before cancelling).

      Despite the addition of the delivery service fee in October 2021, Amazon

continued to advertise “Fast, free delivery” of groceries and “2-hour delivery on a

wide selection of fresh ingredients” after the fee was imposed. FAC ¶ 35, 2-ER-152-

153 (including photo). Plaintiff Dena Griffith saw at least one such advertisement

on the Amazon website on or around October 21, 2022. Id.

      The delivery service fee is not disclosed on the first page of the Whole Foods

delivery section of Amazon’s website, where various grocery items are displayed

alongside the price of those items. FAC ¶¶ 15-16, 2-ER-147 (including photo). When

a customer clicks on a grocery item, the next page states in opaque text “$9.95 for

2-hour delivery.” FAC ¶ 17, 2-ER-148. (including photo). The text is in small font

and is unlikely to be noticed by a reasonable consumer. Id. The fee is also presented

in a smaller font and different color than the advertised price of the grocery item. Id.

Once a customer clicks on the “add to cart” icon, there is a series of webpages asking

for payment and delivery information before the customer arrives at the final “place

your order” page. FAC ¶ 18, 2-ER-149 (including photo). On the “place your order”




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page, the service fee is shown above the total price of delivery in small text that is

unlikely to be noticed by a reasonable consumer. Id.

      Plaintiff Dena Griffith’s experience is representative of Amazon consumers.

Griffith saw Amazon’s online advertisements of free delivery of Whole Foods

groceries to Prime members at various times in early and mid-2021. FAC ¶ 24, 2-

ER-151. She saw the ads for “FREE Delivery” and “FREE 2-Hour Grocery

Delivery” when visiting Amazon’s platform on various occasions. Id. These ads

were substantively identical or similar to the advertisements included in the FAC.

Id. In June 2021, in reliance on these ads, Griffith purchased a one-year Prime

membership subscription. Id. ¶ 25. She decided to subscribe to Prime to avail herself

of free deliveries of merchandise during the COVID-19 pandemic, including free

deliveries of groceries from Whole Foods, where she had shopped in person for

many years. Id. ¶ 27.

      On June 5, July 6, and October 7, 2021, Griffith made purchases of Whole

Foods groceries totaling at least $40 each time, and she was not charged a service

fee. FAC ¶¶ 28–30, 2-ER-151-152. However, on January 22, 2022, Griffith was

charged a $9.95 service fee for a similar purchase. Id. ¶ 31. Griffith did not expect

this service fee based on the ads she had viewed and the absence of a fee on her prior

purchases. Id. She does not recall ever having received or seen a specific,



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conspicuous notice of Amazon’s addition of the delivery service fee. Id. ¶ 32. After

discovering the service fee, Griffith did not place any further orders for delivery

from Whole Foods. Id. She did, however, continue to see advertisements for free

grocery delivery on the Amazon website. FAC ¶ 35, 2-ER-152-153.

         Griffith’s Prime subscription automatically renewed in June 2022 before she

got around to cancelling it. Id. ¶ 36. Offended by the change in pricing for Whole

Foods deliveries, she cancelled her subscription in June 2023. Id. ¶ 37.

   II.      Procedural History

         Griffith filed her class action complaint in this matter in the Western District

of Washington on June 7, 2022, alleging that Amazon had violated the Washington

Consumer Protection Act (“WCPA”), RCW Ch. 19.86, and various California

consumer protection laws, and had engaged in negligent misrepresentation,

concealment/nondisclosure, fraud, and unjust enrichment in its promotion and

subsequent termination of the free Whole Foods Market delivery benefit. On June

23, 2022, Griffith filed a motion to consolidate her action with Pecznick v.

Amazon.com, Inc., No. 2:22-cv-00743-TL (W.D. Wash.), which also alleged

violation of the WCPA as well as breaches of contract and of the duty of good faith

and fair dealing arising out of the same conduct and transactions. On September 27,

2022, the district court granted Griffith’s motion to consolidate, designated Pecznick



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as the lead case, recaptioned the case as In re Amazon Service Fee Litigation, and

appointed Griffith’s attorneys as interim class counsel. 2-ER-328-340.

      On October 25, 2022, Griffith filed a Consolidated Class Action Complaint

(“CAC”) incorporating all causes of action from the original Griffith and Pecznick

complaints as well as a claim for declaratory relief. 2-ER-284-327. On December

19, 2022, Amazon filed a motion to dismiss the CAC and strike the class allegations.

2-ER-249-283. On December 7, 2023, the district court granted Amazon’s motion

without hearing, dismissing the claims for breach of contract, unjust enrichment,

declaratory relief, and violation of the California statutes without leave to amend. 1-

ER-26-47. In dismissing the breach of contract claim, the court found that Amazon’s

Terms and Conditions allowed Amazon to remove Prime membership benefits at

any time at its sole discretion and that this authority and Amazon’s elimination of

the free Whole Foods delivery benefit did not render the contract illusory because

other Prime benefits remained. 1-ER-39-42. The court also dismissed Griffith’s good

faith and fair dealing claim but with leave to amend. 1-ER-41-42. Finally, the court

dismissed Griffith’s claims for violation of the WCPA and her common law fraud-

based claims for failure to plead with particularity under Fed. R. Civ. P. 9(b) but

granted Griffith leave to amend. 1-ER-36-38.




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      On January 8, 2024, Griffith filed a First Amended Consolidated Class Action

Complaint (“FAC”) asserting claims for violation of the WCPA and breach of the

duty of good faith and fair dealing. Griffith did not include common law fraud or

misrepresentation claims in the FAC. 2-ER-141-162. Amazon moved to dismiss the

FAC on February 5, 2024. 2-ER-106-135. On June 18, 2024, the district court heard

argument on the motion to dismiss, and on July 19, 2024, the court granted the

motion. 1-ER-4-25. The court held that Griffith had pled her WCPA claims with

sufficient particularity but that Amazon’s alleged conduct was not deceptive or

unfair and did not breach the duty of good faith and fair dealing as a matter of law.

The court granted Griffith leave to amend regarding one theory under the WCPA –

that Amazon’s conduct misled consumers into believing that free Whole Foods

Market delivery was guaranteed during the entirety of their Prime memberships --

finding that Griffith did not allege this theory in the FAC. The court dismissed all

other claims and theories without leave to amend. Id.

      Rather than amend, Griffith filed her notice of appeal on August 15, 2024. 3-

ER-342-347. Upon Griffith’s motion, the Court entered a final Judgment and

Amended Judgment in Amazon’s favor on August 28, 2024, curing any finality and

timeliness issues with Griffith’s appeal. 1-ER-2, 3.




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                            STANDARD OF REVIEW

      This Court reviews “de novo the district court’s grant of a motion to dismiss

for failure to state a claim.” Pacific Coast Horseshoeing Sch., Inc. v. Kirchmeyer,

961 F.3d 1062, 1067 n.3 (9th Cir. 2020). In reviewing the sufficiency of Griffith’s

complaint, this Court must accept “all allegations of material fact as true and

construe them in the light most favorable” to Plaintiff. See Pinnacle Armor, Inc. v.

United States, 648 F.3d 708, 714 (9th Cir. 2011) (internal quotation marks omitted).

A plaintiff is required to allege only “enough facts to state a claim to relief that is

plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

Dismissal is proper only “if it appears beyond doubt that the non-movant can prove

no set of facts to support its claims.” Adams v. Johnson, 355 F.3d 1179, 1183 (9th

Cir. 2004).

                          SUMMARY OF ARGUMENT

      The district court wrongly concluded that Griffith did not plausibly allege

claims for deceptive and unfair conduct under the WCPA, for breach of contract,

and for breach of the duty of good faith and fair dealing.

      First, Griffith plausibly alleged that Amazon engaged in unfair and deceptive

practices under the WCPA by representing that Prime members would receive

“FREE Delivery” and “FREE 2-Hour Grocery Delivery,” including deliveries from



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Whole Foods. FAC ¶¶ 9-13, 2-ER-143-147. The FAC provided specific examples

of Amazon’s free delivery advertisements of the type seen by Griffith. FAC ¶¶ 9,

11, 35, 2-ER-143-146, 152-153. Griffith alleged that these advertisements are likely

to deceive ordinary consumers because Amazon began charging its customers a

$9.95 service fee “for all grocery deliveries from Whole Foods Market” in October

2021. FAC ¶ 13, 2-ER-146-148. Moreover, Amazon’s advertisements did not

disclose to consumers that Amazon reserved the right to unilaterally terminate this

service at any time, without refund or recourse to Prime subscribers, a material

omission that is itself deceptive and unfair under the CPA. These representations and

omissions combined had the capacity to mislead consumers into believing they

would receive free Whole Foods Market deliveries for the duration of their annual

Prime memberships.

      Second, Griffith plausibly alleged that Amazon acted unfairly under the

WCPA by terminating the free Whole Funds delivery program and instituting a

hidden delivery fee, without providing a refund to Prime members or opportunity to

cancel their annual memberships. FAC ¶¶ 23, 61, 70, 2-ER-150-151, 157, 159.

      Third, Griffith also plausibly alleged that Amazon’s specific promise of free

Whole Foods Market delivery became an integrated and material term in the contract

between Prime members and Amazon, and that Amazon breached its contract with



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her and other Prime members when it unilaterally terminated the service without

consideration. CAC ¶¶ 121-125, 2-ER-309-310.

      Finally, Griffith plausibly alleged that Amazon breached its duty of good faith

and fair dealing by unilaterally terminating the free Whole Foods delivery service

and failing to provide her with free Whole Foods delivery during the duration of her

annual Prime subscription. FAC ¶¶ 69-70, 2-ER-159. In so doing, Amazon abused

its discretion to remove the free Whole Foods delivery Prime benefit under the

contract, evaded the spirit of its bargain with Griffith and other Prime customers,

and willfully rendered imperfect performance under the contract, especially in light

of its specific promotion of free Whole Foods deliveries as an inducement for

Griffith and other consumers to join Prime and its surreptitious disclosure and

collection of the delivery fee.

      Griffith’s experience typifies these claims. Griffith is a consumer who saw

and reasonably relied on Amazon’s online advertisements of free delivery of Whole

Foods groceries for Prime customers, and she purchased an annual Prime

membership in reliance on those ads. FAC ¶¶ 24-26, 2-ER-151. In January 2022, she

was unexpectedly charged a $9.95 service fee for delivery when placing a Whole

Foods delivery order. FAC ¶ 31, 2-ER-152. She does not recall having received or

seen a specific conspicuous notice of Amazon’s addition of a $9.95 service fee, and



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after realizing she had been charged a fee, she did not place any further Wholes

Foods orders for delivery. Id., ¶ 32. In short, Griffith plausibly alleged that she was

deceived by and relied upon Amazon’s misleading bait and switch advertising and

was injured by Amazon’s breach of contract and the duty of good faith and fair

dealing in terminating the free delivery service, which significantly diminished the

value of the annual Amazon Prime subscription that she had already paid for. The

district court erred in dismissing her claims on the pleadings and without any

discovery.

                                    ARGUMENT

   I.      Plaintiff Plausibly Alleged that Amazon Has Engaged in Deceptive
           and Unfair Conduct in Violation of the Washington Consumer
           Protection Act.

           A.    The FAC plausibly alleged that Amazon’s advertising of free
                 grocery delivery for Prime members contained deceptive
                 misrepresentations and omissions.

        The Washington Consumer Protection Act prohibits deceptive or unfair acts

and practices in trade or commerce and grants a private right of action to consumers

injured by such practices. RCW 19.86.020, .090. Under the WCPA, “[d]eception

exists if there is a misrepresentation, omission, or practice that is likely to mislead a

reasonable consumer.” State v. Mandatory Poster Agency, Inc., 398 P.3d 1271, 1277

(Wash. Ct. App. 2017) (internal citations omitted). “A plaintiff need not show the


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act in question was intended to deceive, only that it had the capacity to deceive a

substantial portion of the public.” Panag v. Farmers Ins. Co., 204 P.3d 885, 894

(Wash. 2009). Whether a communication is deceptive depends on the “net

impression” it creates, and even technically accurate information can be deceptive if

the overall representation is likely to mislead a reasonable consumer. Mandatory

Poster Agency, 398 P.3d at 1279.

      “[W]here the facts are undisputed, the court will review whether the conduct

is unfair or deceptive as a matter of law.” Greenberg v. Amazon.com, Inc., 553 P.3d

626, 649 (Wash. 2024). However, “where the underlying facts regarding the

defendant’s conduct is disputed,” whether the conduct is unfair or deceptive is a

question for the jury. Id. at 647.

      Here, the representations and omissions in Amazon’s advertising are likely to

mislead reasonable consumers into believing that they would receive free Whole

Foods Market shipping during the terms of their Prime membership. In addition,

there are unknown facts regarding when Amazon made the decision to terminate the

free Whole Foods delivery service and when it stopped advertising this specific

benefit that made it inappropriate for the district court to dismiss Griffith’s WCPA

false advertising claim without opportunity for discovery and as a matter of law.




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      In the FAC, Griffith alleged that Amazon falsely advertised free WFM

delivery as a benefit of Prime membership when, in fact, it began charging $9.95 for

such service. Griffith provided specific examples of such advertisements in the FAC.

Nevertheless, Amazon argued and the district court found that the company’s

advertising of free grocery delivery as alleged in the FAC was not deceptive for

several reasons. None of Amazon’s arguments warranted dismissal of Griffith’s

claims at the pleading stage.

       First, Amazon argued, and the district court accepted, that the advertisements

cited in the FAC are not misleading because they were true when made. See 1-ER-

16-17. This is incorrect for several reasons. To begin, Amazon contends that the

advertisement pictured at paragraph 9 of the FAC, 2-ER-144-145, was true when

made because it was still offering “FREE 2-Hour Grocery Delivery” from Whole

Foods at the time. However, in the absence of discovery, only Amazon knows when

it stopped using this ad or when it decided to terminate or started contemplating

termination of the free Whole Foods delivery service.1 For example, if these

advertisements continued even after Amazon knew it might terminate the benefit,


1
  The FAC alleges that Griffith saw this advertisement before Amazon started
imposing the $9.95 service fee but does not state when Amazon stopped publishing
the ads. Similarly, the FAC indicates that Amazon announced the termination of free
delivery in September 2021 but does not allege when Amazon started contemplating
or decided to end the service.

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that would undoubtedly constitute deceptive bait and switch advertising under the

WCPA. Thus, Amazon’s argument about the veracity and non-misleading nature of

these ads depends on facts outside the pleadings and the record, that remain to be

determined in discovery, and that are plausibly raised by the FAC: namely, whether

Amazon continued to disseminate advertisements promising or appearing to promise

free Whole Foods deliveries after deciding to terminate the service.

      Even aside from such questions, this advertisement omits critical information

that would be material to an ordinary consumer about the promise of free Whole

Foods deliveries: that Amazon asserts the right to terminate the service at any time

without refunding or rebating the related Prime membership subscription, thereby

significantly diminishing the value of the subscription. A reasonable consumer

reading this ad could believe they would be entitled to free Whole Foods delivery

for the duration of their Prime membership. Omission of the non-guaranteed nature

of the benefit, whether or not Amazon had the present intent to terminate the

program, was itself deceptive. See e.g., Ruiz-Torres v. Mercer Canyons, Inc., 835

F.3d 1125, 1135-36 (9th Cir. 2016) (recognizing that non-disclosure of material




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information about job opportunities stated a cognizable claim for deceptive conduct

under the WCPA). 2

      Amazon similarly argued that the advertisement at paragraph 35 of the FAC,

2-ER-152-153, which Griffith saw in October 2022 after Amazon terminated free

Whole Foods deliveries, is literally true because it only promised “free” “2-hour

delivery” of “Groceries” without specifically mentioning Whole Foods. Amazon

argued this promotion is not misleading because it refers to deliveries from another

Amazon division, Amazon Fresh, which also is not mentioned in the ad. However,

under the WCPA, “[d]eception exists if there is a misrepresentation, omission, or

practice that is likely to mislead a reasonable consumer.” Mandatory Poster Agency,

Inc., 398 P.3d at 1277 (internal citations omitted). Whether a communication is



2
 The district court incorrectly concluded that the FAC did not allege the theory that
Amazon’s advertising could mislead consumers into believing they would receive
free Whole Foods delivery for the term of their annual Prime membership. The court
could reach this conclusion only be reading the FAC narrowly and failing to draw
all reasonable inferences in Griffith’s favor. Indeed, the court recognized that
Griffith alleged (1) that Amazon acted unfairly and deceptively by inducing
consumers to sign up for Prime memberships with the promise of free Whole Foods
Market delivery while later refusing to refund or permit cancellation of the annual
memberships when free delivery was terminated, and (2) that Amazon “fail[ed] to
perform under the contract by continuing to provide Plaintiff with free Whole Foods
Market delivery … during the duration of Plaintiff’s annual contract.” 1-ER-14, 22
(quoting FAC ¶ 69). The only fair reading of the FAC is that it encompassed and
asserted this theory regarding the capacity of Amazon’s advertising to mislead
ordinary consumers.

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deceptive depends on the “net impression” it creates. Id. at 1279. Thus, even

technically accurate information can be deceptive if the overall representation is

likely to mislead a reasonable consumer. Id.

      Here, a reasonable consumer could be misled into believing this ad promises

free Whole Foods deliveries in light of Amazon’s past promotion and provision of

free Whole Foods Market deliveries, its well-publicized ownership of Whole Foods,

and the omission from the ad of any qualifiers (e.g., that it does not apply to Whole

Foods or only applies to Amazon Fresh). Moreover, an ordinary consumer would

not learn they had been misled until after they purchased a non-refundable Prime

membership and were charged a service fee for a Whole Foods order. Taking the

entire context into consideration, the FAC plausibly alleges that this ongoing

advertisement of free groceries delivery is deceptive under the WCPA.

      The district court nonetheless discounted Griffith’s allegations relating to this

advertisement because she saw it only after she discovered that Amazon was

charging delivery fees and therefore could not have “relied on this ad.” 1-ER-17. In

so ruling, the district court fundamentally misunderstood the applicable standards

under the WCPA. Reliance is not a required element under the WCPA, and it is not

even necessary that the plaintiff was actually deceived. Rather, the test is whether a

communication has the capacity to deceive a reasonable consumer. See Indoor



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Billboard/Wash., Inc. v. Integra Telecom of Wash., Inc., 170 P.3d 10, 14 (Wash.

2007) (reversing summary judgment dismissal of WCPA claim even though plaintiff

suspected nature of disputed fee was misrepresented before paying invoice). Indeed,

the district court’s approach would undermine the purpose of the WCPA’s citizen’s

suit provision by disabling consumers from challenging ongoing deceptive practices

once they themselves recognized the deception.

      Finally, Amazon argued below that its advertisements are not likely to mislead

a reasonable consumer because it disclosed the service fee during the check-out

process and informed consumers of the provisional nature of its promises in the

Prime Terms and Conditions. This argument misses the mark.

      Amazon’s “FREE Delivery” and “FREE 2-Hour Grocery Delivery”

advertisements have the capacity to induce a reasonable consumer to sign up for the

Prime service. As the FAC alleges, “Plaintiff and the Class were deceived by

Defendant’s unfair and deceptive misrepresentations of material fact in deciding to

enter into contracts or continue doing business with Defendant” and “would have

acted differently knowing that the Defendant charges a service fee in connection

with grocery deliveries from Whole Foods Market.” FAC ¶ 63, 2-ER-158-159.

Consumers would not recognize the deceptive nature of the ads until they had paid

for their non-refundable Prime subscription and incurred a service charge for Whole



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Foods Market delivery orders. In other words, disclosure of the delivery fee at the

time of order is simply too little, too late.

       Moreover, even if Amazon elsewhere provided notice of the service fee or the

provisional nature of its promise, this does not cure (as a matter of law, no less) the

misleading nature of its advertisements that explicitly promise “FREE 2-Hour

Grocery Delivery.” See Mandatory Poster Agency, 398 P.3d at 1279 (“courts have

recognized that disclaimers do not always cure the potential for deception”). As this

Court has stated, “We disagree with the district court that reasonable consumers

should be expected to look beyond misleading representations on the front of the

box to discover the truth from the ingredient list in small print on the side of the

box.” Williams v. Gerber Prod. Co., 552 F.3d 934, 939 (9th Cir. 2008). The same

reasoning applies here. A reasonable consumer should not be expected to look

beyond Amazon’s misleading advertisements to discover the truth from small print

buried in the Prime Terms. See Walters v. Vitamin Shoppe Indus., Inc., 701 F. App'x

667, 670 (9th Cir. 2017) (plaintiff “did not have a duty to validate claims on the front

of a product's label by cross-checking them against information contained in small

print on the back[.]”).

       In sum, the FAC plausibly alleged that Amazon’s advertising of free grocery

delivery contained misleading representations and omissions that had the capacity



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to deceive a reasonable consumer. The Court should reverse the district court’s

dismissal of Griffith’s false advertising claim under the WCPA and remand for

further proceedings on that claim.

         B.     The FAC plausibly alleged that termination of the free Whole
                Foods delivery service without refund or recourse is unfair
                conduct under the WCPA.

      The WCPA does not define “unfair” conduct, and the Washington Supreme

Court has not “explore[d] in detail how to define unfair acts.” Klem v. Washington

Mut. Bank, 295 P.3d 1179, 1187 (Wash. 2013). Rather, the statute is intended to be

flexible and must be liberally construed to reach any unfair or deceptive acts in the

conduct of trade or commerce. Young v. Toyota Motor Sales, U.S.A., 472 P.3d 990,

995–96 (Wash. 2020). Business practices can be unfair without being deceptive.

Klem, 295 P.3d at 1187.

      “[A] practice is unfair if it causes or is likely to cause substantial injury to

consumers which is not reasonably avoidable by consumers themselves and is not

outweighed by countervailing benefits.” Klem, 295 P.3d at 1187 (quoting 15 U.S.C.

§ 45(n)). “An act or practice can cause ‘substantial injury’ by doing a ‘small harm

to a large number of people….’” Federal Trade Commission v. Neovi, Inc., 604 F.3d

1150, 1157 (9th Cir. 2010) (internal citations omitted) (quoted approvingly in

Greenberg, 553 P.3d at 641). However, the substantial injury test is not the only way


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of proving unfair conduct under the CPA; rather, “there may even be additional ways

that a plaintiff can show that an act or practice that is unregulated by statute is

unfair,” and a “plaintiff needs to show only that the defendant’s conduct is in

violation of public interest.” Greenberg, 553 P.3d at 641. In making this assessment,

courts must view the totality of a defendant’s conduct, including its acts before,

during, and after the transactions at issue, and the impact those actions had on

consumers. See FTC v. Crescent Publ’g Grp., 129 F. Supp. 2d 311, 322 (S.D.N.Y.

2001) (finding “free tours” promotion unfair based on manner in which defendants

obtained credit card numbers and difficulty consumers had challenging charges);

Griffith v. Centex Real Estate Corp., 969 P.2d 486, 492 (Wash. Ct. App. 1998)

(stating that the “CPA applies to activities both before and after a sale”).

      Here, Griffith alleged that Amazon acted unfairly by inducing consumers to

sign up for annual Prime subscriptions with the promise of free Whole Foods

delivery, then refusing to refund or permit members to cancel those subscriptions

when it unilaterally terminated the service with little or no warning. This plausibly

alleged an unfair business practice under the WCPA because it caused substantial

injury to a vast number of consumers that they could not reasonably avoid by

themselves, and the only countervailing benefit was to Amazon’s bottom line.

Amazon’s conduct undermined the public interest in securing the fulfillment of



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reasonable consumer expectations, preventing bait and switch promotions, and

protecting consumers from the unilateral exercise of unequal bargaining and

marketplace power by mega-corporations.

      The district court nonetheless concluded that Amazon’s conduct was not

unfair because its termination of the free Whole Foods delivery service was

permitted by the Prime Terms and that consumers could reasonably avoid the harm

by reading the Terms and declining to sign up for Prime membership in the first

place. 2- ER-334. In so holding, the district court erred both legally and factually.3

First, the court erred by concluding that the substantial injury test is the only standard

for unfair conduct under the WCPA. Second, and more fundamentally, the court

erred by failing to apprehend that a mega-corporation behaves unfairly and against

the public interest by offering a specific inducement for consumers to sign up for an

annual membership, not disclosing the conditional nature of the inducement in the

promotion, and not allowing the consumers any recourse when it unilaterally

changes the terms of the deal and terminates the benefit. Put another way, a

corporation cannot simply avoid liability for unfair conduct under the WCPA by

burying a disclosure of the contingent nature of its promises in terms and conditions


3
 This is even assuming that Amazon could terminate the free Whole Foods delivery
service without breaching its contract with Prime customers, an incorrect conclusion
as explained below.

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that ordinary consumers do not read. That is precisely the kind of caveat emptor

defense the WCPA was adopted to cure.

      Nor do the cases cited by the district court counsel a different conclusion.

Neither Haywood v. Amazon.com, Inc. nor Smale v. Cellco Partnership involved any

deceptive conduct, specific inducement, or midstream termination of a promised

benefit. Rather, in Smale there was nothing deceptive about the company’s billing,

and its agreement “unambiguously” disclosed it could add charges “related to [its]

governmental costs.” 547 F. Supp. 2d 1181, 1186 (W.D. Wash. 2008). And in

Haywood, Amazon’s conditions of use “expressly provide” it could ban an

individual from posting reviews for violation of its community guidelines. No. 2:22-

CV-01094-JHC, 2023 WL 4585362, at *7 (W.D. Wash. July 18, 2023).

      Similarly, Marquez v. Amazon.com, Inc. did not involve any claim of false

advertising. 69 F.4th 1262, 1272 (11th Cir. 2023). Rather, the WCPA claim in

Marquez was completely derivative of the contract claim in that case. As the

Eleventh Circuit explained, the Marquez plaintiffs alleged that Amazon violated the

WCPA because it “breach[ed] its contract” with Prime members and “‘the least

sophisticated consumer’ was ‘likely to [be] misl[ed]’ by the contract’s terms.” 69

F.4th at 1275 (emphasis added). By contrast, the WCPA allegations in this case are

independent of the Prime Terms and Conditions and do not rely on any assertion



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they are misleading. Instead, Griffith’s claims hinge on Amazon’s misleading

advertising of free WFM delivery and its unfair conduct in terminating this service

without refund of recourse to Prime subscribers notwithstanding that specific

inducement. Griffith’s fraudulent inducement and unfair termination claims can be

adjudicated without finding the terms of the Prime contract deceptive and thus the

claims sub judice are distinguishable from the WCPA claims in Marquez.4

      In short, Griffith plausibly alleged that Amazon acted unfairly by specifically

promoting free Whole Foods market delivery as an inducement to Prime

membership, then unilaterally terminating that service without refund or

consideration to consumers, significantly diminishing the value of the membership

they had already paid for. The Court should reverse the district court’s order

dismissing this claim without discovery and as a matter of law and remand for further

proceedings.




4
 Further distinctions between the facts and claims in the two cases are discussed in
Section II.B infra, including the fact that Marquez involved an emergency,
temporary suspension of certain services, compared to the permanent termination of
benefits here.

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   II.      Plaintiff Plausibly Pled Breach of Contract.

            A.     Plaintiff Plausibly Alleged that Amazon’s Specific Promise of
                   Free Whole Foods Market Delivery Was Integrated in the Prime
                   Membership Agreement.

         Griffith also alleged a plausible claim for breach of contract, and the district

court erred in concluding otherwise.

         In the CAC, Griffith alleged that “Plaintiff and Class Members entered into a

contract with Amazon for a Prime membership that included free Whole Foods

Market delivery with a minimum $35 purchase for a yearly fee of $119” and that

“Amazon’s representations that it offers ‘FREE Delivery’ and ‘FREE 2-hour grocery

delivery’ from Whole Foods Market are terms that were integrated into the Amazon

prime membership contract.” CAC ¶ 121, 2-ER-309.

         Thus, Griffith clearly alleged that free Whole Foods delivery was a term that

was integrated into the applicable contract. “Under Washington law, the parol

evidence rule requires that ‘all conversations and parol agreements between the

parties prior to a written agreement are so merged therein that they cannot be given

in evidence for the purpose of changing the contract or showing an intention or

understanding different from that expressed in the written agreement.’” Accretive

Tech. Grp., Inc. v. Adobe Sys., Inc., No. C15-309RSM, 2015 WL 4920079, at *4

(W.D. Wash. Aug. 17, 2015) (“Accretive”) (quoting United Fin. Cas. Co. v.



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Coleman, 295 P.3d 763, 767-68 (Wash. Ct. App. 2012) and Buyken v. Ertner, 205

P.2d 628, 632 (Wash. 1949)). “The parol evidence rule, however, ‘only applies to a

writing intended by the parties as an ‘integration’ of their agreement, i.e. a writing

intended as a final expression of the agreement's terms.’” Id. (quoting Berg v.

Hudesman, 801 P.2d 222, 230 (Wash. 1990)). “Where a contract is only partially

integrated, i.e., the writing is a final expression of those terms which it contains but

not a complete expression of all terms agreed upon, the terms not included in the

writing may be proved by extrinsic evidence provided that the additional terms are

not inconsistent with the written terms.” Id.

      In Accretive, the defendant argued that the court could not consider extra-

contractual representations because the contract was fully integrated. 2015 WL

4920079, at *4. Here, Amazon cannot argue that the applicable contract is fully

integrated. Neither the Amazon Prime Terms and Conditions nor the Amazon

Conditions of Use contain an integration clause. See FAC, Ex. 1, 2-ER-136-140;

2-ER-239-246 (Buckley Decl., Ex. A). Indeed, the Conditions of Use expressly

contemplate that other terms may be added to the agreement. They state, “Amazon

makes no representations … as to the operation of the Amazon services … unless

otherwise specified in writing.” 2-ER-243. Here, Griffith has alleged that Amazon




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did specify in writing, in its advertisements, the promise to provide free Whole

Foods delivery to Prime customers.

      Moreover, “integration of a contract is generally a question of fact.” Accretive,

2015 WL 4920079, at *5 (citing S.D. Deacon Corp. of Washington v. Gaston Bros.

Excavating, 206 P.3d 689, 693 (Wash. Ct. App. 2009)). “In determining whether an

agreement is integrated, ‘the court may consider evidence of negotiations and

circumstances surrounding the formation of the contract.’” Id. (citations omitted). In

this case, such evidence would include Amazon’s representations about “FREE

Delivery” and “FREE 2-hour grocery delivery” from Whole Foods Market.

      As in Accretive, “[w]hether or not the Agreement has been fully integrated is

in dispute.” Id. There, the court explained the limits on its review in such

circumstances:

      [The court] cannot, at this juncture, ‘consider evidence of negotiations
      and circumstances surrounding the formation of the contract,’ nor can
      it determine questions of fact. Instead, the Court must accept as true the
      facts of the Complaint. The Court thus assumes that the Agreement was
      partially integrated for purposes of this 12(b)(6) Motion, allowing for
      consideration of extrinsic terms not inconsistent with the written terms
      of the Agreement.
Id. (citing Berg, 801 P.2d at 230). Likewise, on Amazon’s Rule 12(b)(6) motion to

dismiss in this case, the district court should have found plausible Griffith’s

allegations that “FREE Delivery” and “FREE 2-hour grocery delivery” from Whole



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Foods Market are terms that are integrated into her contract with Amazon. See, e.g.,

Nihon Ki-In Go Inst. of the W. v. Nihon Ki-In, No. C12-0804RSL, 2012 WL

12941689, at *1 (W.D. Wash. June 27, 2012) (“[t]aking plaintiff's allegations as true,

the contract between the parties was partially integrated, with the oral component

supporting plaintiff's claims.”); Norcal Waste Sys., Inc. v. Apropos Tech., Inc.,

No. C 06-3410 CW, 2006 WL 2319085, at *5 (N.D. Cal. Aug. 10, 2006) (“[I]n order

for the Court to decide, as Defendant urges, that the License Agreement was intended

by the parties to be a final and complete expression of their agreement, the Court

would have to consider preliminarily all credible parol evidence, including all

evidence relating to the allegations in Plaintiff's complaint. Such an analysis is not

possible on Defendant's Rule 12(b)(6) motion.”); Congrove v. W. Mesquite Mines,

Inc., No. 08-CV-01191-H (PCL), 2010 WL 11508664, at *4 (S.D. Cal. Apr. 15,

2010) (“For purposes of this motion to dismiss, the Court cannot conclude that the

Agreement between the parties is considered integrated.”).

       In addition, Griffith also plausibly alleged that “[t]he imposition of the $9.95

service fee constituted a modification of the contract with Amazon without

consideration to Plaintiff and the Class Members.” CAC ¶ 123, 2-ER-309. Thus,

Griffith stated a plausible prima facie case that Amazon breached its contract with

her.



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         B.    Plaintiff Plausibly Alleged that Amazon Breached Its Prime
               Membership Agreement by Terminating Free Whole Foods
               Delivery without Consideration to Consumers.
      In its motion to dismiss, Amazon disputed this allegation on two grounds.

      First, Amazon argued and the district court agreed that the company acted

consistently with, and did not modify, the Prime Terms. 1-ER-40. This is incorrect.

Although Amazon’s Prime Terms and Conditions provide that “[f]rom time to time,

Amazon may choose in its sole discretion to add or remove Prime membership

benefits” and “may in our discretion change these Terms … or any aspect of Prime

membership, without notice to you,” FAC, Ex. 1, 2-ER-138, the “FREE Delivery”

and “FREE 2-hour grocery delivery” from Whole Foods Market are terms that are

integrated into the contract as discussed above. Amazon did not simply “add or

remove benefits” or change its terms. Instead, Amazon breached the contract by

beginning to charge an additional service fee above and beyond the price of Prime

membership for the Whole Foods Market delivery service.5

      In reaching a contrary conclusion, the district court relied on the Eleventh

Circuit decision in Marquez v. Amazon.com, Inc., 69 F.4th at 1262. Although there

may be some superficial resemblance between the breach of contract claims in


5
  For this reason, the “FREE Delivery” and “FREE 2-hour grocery delivery” terms
are not inconsistent with the terms of the written contract and may be considered
integrated. See Accretive, 2015 WL 4920079, at *5.

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Marquez and here, the two cases are factually and legally distinct in significant ways.

Marquez therefore provides no meaningful support for the district court’s order here.

      To begin, the gravamen of the alleged wrongdoing is fundamentally different

in the two cases. Marquez arose out of Amazon’s decision to temporarily suspend

“Rapid Delivery” of non-essential items at the start of the COVID-19 pandemic to

prioritize delivery of medical supplies, food, and other essential goods. 69 F.4th at

1266. The emergent nature of the situation permeates the court’s analysis. Id. at

1266, 1268, 1275 n.14, 1276. By contrast, the core of Griffith’s allegations here are

that Amazon induced her and other consumers to purchase Prime memberships with

the specific promise of free Whole Foods Market delivery, a promise that became

integrated into the membership contract, and then breached that promise by charging

a $9.95 delivery fee. Imposition of that delivery fee was not an emergency response

to an unprecedented global pandemic; it was corporate profit-taking through breach

of contract and bait-and-switch advertising.

      In addition, while the Eleventh Circuit “assume[d] that Amazon’s contract

with Prime subscribers included a promise to provide Rapid Delivery,” it also noted

that Rapid Delivery “is not a contract term.” 69 F.4th at 1269, 1266 n.1 (emphasis

added). In other words, the Marquez plaintiffs did not and could not point to any

contract term that guaranteed them Rapid Delivery. By contrast, Griffith alleged here



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that Amazon’s advertised promise of “free” Whole Foods delivery was integrated

into the Prime contract and that Amazon breached this specific promise when it

began charging Whole Foods delivery fees.

      Next, Marquez found that Amazon had the “right to limit Rapid Delivery”

temporarily to essential items during the early days of the pandemic, in response to

the public emergency and pursuant to contractual terms that allowed it to remove

membership benefits or provide them on an “as is” and “as available” basis. 69 F.4th

at 1270-71. Here, however, Amazon permanently eliminated a specifically promised

benefit not because of any exigent circumstance but to boost its own profits. Indeed,

there can be no argument that free Whole Foods delivery was no longer “available”

– Amazon continued to provide the delivery service, it just began charging for it.

      Finally, Marquez reasoned that the temporary limitation on Rapid Delivery

was not unconscionable and did not breach the contract because Prime subscribers

had “the option to cancel their Prime membership at any time.” 69 F.4th at 1273. By

contrast, Griffith’s complaint points out the factual flaws in this reasoning. Prime

subscribers with annual memberships, like Griffith, could not cancel their

membership at any time. Rather, Prime members who used any Prime benefit more

than three days after the start of their annual membership could not cancel their

membership or receive a refund in response to the termination of the “free” Whole



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Foods delivery program until their next annual renewal date. CAC ¶ 23, 2-ER-294;

FAC ¶ 23, 2-ER-150-151; FAC, Ex. 1, 2-ER-137. The Eleventh Circuit’s

conclusions regarding breach of contract and unconscionability are undermined by

its failure to either be apprised of or acknowledge this severe constraint on

consumers’ ability to cancel their Prime memberships.

      In sum, Griffith plausibly alleged that Amazon breached its contract with

Prime members by terminating a specifically promised and integrated benefit term

without consideration. The Court should reverse the district court’s dismissal and

remand for further proceedings on this claim.

         C.    The District Court’s Conclusion that Amazon Could
               Unilaterally Terminate the Free Whole Foods Delivery Service
               Improperly Makes the Prime Membership Agreement an
               Illusory Contract.

      To the extent Amazon argues, and the district court here agreed, that the

company has unconditional discretion to eliminate any and all Prime benefits at any

time, including those specifically promised and that are material in inducing a

consumer to enter into a Prime contract, the Prime contract would be illusory. See

Interchange Assocs. v. Interchange, Inc., 557 P.2d 357, 359 (Wash. Ct. App. 1976),

“When an absolute right to cancel a promised performance is retained, the promise

is illusory and insufficient consideration to support enforcement of the return




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promise.” Id. Here, of course, Griffith already performed her “return promise” by

paying for a non-refundable annual Prime membership. Id. Allowing Amazon to

“unilaterally avoid” its corresponding obligation to provide free WFM delivery

would render the contract illusory, a result that “cannot be sanctioned” under

Washington law. Taylor v. Shigaki, 930 P.2d 340, 344 (Wash. Ct. App. 1997) (citing

Kennewick Irrigation Dist. v. U.S., 880 F.2d 1018, 1032 (9th Cir.1989)) (“If a client

is allowed to use an attorney's services to obtain a settlement offer and then fire the

attorney before accepting to escape paying a contingency fee, the obligation to pay

the fee could be unilaterally avoided. Such a result cannot be sanctioned.”).

      The district court nonetheless concluded that the contract is not illusory

because Prime subscribers still get some benefits even if Amazon can cancel any

service or suite of services at any time. 1-ER-41-42. This conclusion is inconsistent

with Washington law. A “‘promise’ may be illusory because it is so indefinite that

it cannot be enforced, or because provisions contained in the promise make its

performance optional or entirely discretionary on the part of the promisor.” State v.

Hirocke, 17 Wash. App. 2d 1024, 2021 WL 1575231, at *3 (Wash. Ct. App. 2021)

(unpublished) (quoting State v. E.A.J., 67 P.3d 518, 521 (Wash. Ct. App. 2003)).

“An ‘illusory promise’ is a purported promise that actually promises nothing because

it leaves to the speaker the choice of performance or nonperformance...



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When the provisions of the supposed promise leave the promisor's performance

optional or entirely within the discretion, pleasure and control of the promisor, the

‘promise’ is illusory.” Interchange Associates, 557 P.2d at 358; see also Felice v.

Clausen, 590 P.2d 1283, 1285 (Wash. Ct. App. 1979) (“If the provisions of an

agreement leave the promisor's performance entirely within his discretion and

control, the ‘promise’ is illusory. Where there is an absolute right not to perform at

all, there is an absence of consideration.”). Accepting the reasoning of the Amazon

and the district court would render the Prime contract illusory because Amazon’s

obligations under the contract would be “so indefinite” and “entirely discretionary”

on the part of Amazon. Hirocke, 2021 WL 1575231, at *3. It would leave an ordinary

consumer with absolutely no control over what they actually receive in exchange for

their membership fee. Amazon could unilaterally terminate virtually all services

under the contract at any time, including free Whole Foods delivery, free and

commercial-free video streaming, free two-day delivery on any items, etc.

According to Amazon and the district court, as long as Amazon provides any good

or service to Prime members, no matter how small and no matter how insignificant

to the consumer, the company would satisfy its part of the bargain. But that truly

leaves Amazon’s performance “entirely within the discretion, pleasure, and control




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of” Amazon, the very definition of an illusory promise under Washington law.

Interchange Associates, 557 P.2d at 358.6

      Nor does the analysis change because Griffith received some free Whole

Foods deliveries before Amazon unilaterally started charging a fee. In Interchange

Associates, the plaintiffs promised to serve on a board of directors for ten years or

until their earlier resignation and specifically reserved the right to unilaterally

terminate the agreement. 557 P.2d at 358. Defendants removed plaintiffs from the

board after four years of service, and plaintiffs sued to be retained on the board for

the remainder of the ten years. Id. The court held that the resignation clause made

the contract illusory and unenforceable despite the fact that plaintiffs had performed

for four years. Id. at 359. “The resignation clause is indistinguishable from a

contractual provision permitting one party to arbitrarily, unilaterally, and

unconditionally cancel the contract. It follows that the plaintiffs’ ‘promise’ is

insufficient consideration to support enforcement of the executory portion of the

defendants' counter promise.” Id.




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  For similar reasons, even if Amazon has a right to cancel Prime benefits, that right
cannot be unbridled without rendering the contract illusory. There must be some
limits on the company’s discretion and the duty of good faith and fair dealing would
adhere, as discussed in Section III below.

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      Of course, the point here is not that Amazon’s Prime membership contract is

illusory, but that the company and district court’s interpretation of the contract is

unreasonable and cannot be sustained. Under Washington law, courts “will not give

effect to interpretations that would render contract obligations illusory.” Taylor, 930

P.2d at 344. The Court should not construe the Prime membership contract in a

manner that renders it illusory and should instead enable Griffith to pursue damages

for Amazon’s breach of its obligation to provide free Whole Foods delivery to her

and other consumers for the duration of their annual Prime memberships.

          D.    Amazon’s Agreement with Prime Customers Is Not a
                Terminable-At-Will Contract.

      In its motion to dismiss, Amazon also presented an alternative argument, not

reached by the district court, that it was allowed to modify the terms of the Prime

agreement because the contract is a terminable-at-will contract. This is also

incorrect. A terminable-at-will contract exists only when a party receives notice of

a modification and has the right to terminate the agreement. See Capitol Pros, Inc.

v. Vadata, Inc., No. C17-1410-JCC, 2018 WL 883870, at *3 (W.D. Wash. Feb. 14,

2018) (“When Plaintiff received notice of unilateral modification, it had the choice

to preserve the benefit of continued business with Defendant by continuing to

perform instead of terminating the agreement. Foregoing the right to terminate




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constitutes sufficient consideration in the context of unilateral modification.”)

(internal citation omitted).

      Amazon has asserted that it notified consumers that it was terminating the free

Whole Foods delivery service. However, that “fact” was not alleged in the CAC or

the FAC. See CAC and FAC. 2-ER-284-327,141-162. Indeed, Griffith alleged in the

FAC that she “does not recall ever having received or seen a specific, conspicuous

notice of Amazon’s addition of a $9.95 service [sic] to all Whole Foods grocery

purchases.” FAC ¶ 32, 2-ER-152. Moreover, “[w]hether particular notice was

reasonable is ordinarily a question of fact.” Cascade Auto Glass, Inc. v. Progressive

Cas. Ins. Co., 145 P.3d 1253, 1256 (Wash. Ct. App. 2006). These factual questions

alone are sufficient to preclude Amazon’s motion to dismiss on this basis.

      More importantly, even if Amazon did provide reasonable notice (which

Griffith does not admit and her complaints did not allege), Amazon’s argument fails

because Griffith certainly did not have the right to terminate the agreement.

Amazon’s cancellation policy for its Prime membership service states:

      If you signed-up for your Prime membership directly through us, you
      may cancel your Prime membership any time by visiting Your Account
      and adjusting your membership settings. If you cancel within 3 business
      days of signing up for or converting from a free trial to a paid
      membership, we will refund your full membership fee; provided that
      we may charge you (or withhold from your refund) the value of Prime
      benefits used by you and your account during this 3-business day
      period. If you cancel at any other time, we will refund your full

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      membership fee only if you and your account did not make any
      eligible purchases or take advantage of Prime benefits since your
      latest Prime membership charge.
2-ER-137 (emphasis added). Under this cancellation policy, Prime members who

wanted to cancel their membership due to the imposition of the Whole Foods

delivery fee, but who had used Amazon’s Prime service even once during their

annual membership, would not be allowed to terminate the agreement and receive a

refund. Because there is no effective right to terminate the agreement, Amazon

breached the contract by unilaterally modifying the agreement without

consideration. See Stein Distrib. Inc. v. Pabst Brewing Co., LLC, No. C17-5150-

RBL, 2017 WL 2313489, at *4 (W.D. Wash. May 26, 2017) (finding that a contract

was not terminable at will because “[t]he parties' contract explicitly sets forth when

Pabst may cancel it.”). Accordingly, the Court should reverse the district court and

find that Griffith stated a plausible claim for breach of contract.

   III.   Plaintiff Plausibly Alleged Breach of the Duty of Good Faith and
          Fair Dealing.

      It bears repeating that to survive a motion to dismiss, a plaintiff is required to

allege only “enough facts to state a claim to relief that is plausible on its face.”

Twombly, 550 U.S. at 570. Griffith met that standard with respect to her good faith

and fair dealing claim.




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      The “‘implied duty of good faith and fair dealing’ in every contract ‘obligates

the parties to cooperate with each other so that each may obtain the full benefit of

performance.’” Skansgaard v. Bank of Am., N.A., 896 F. Supp. 2d 944, 948 (W.D.

Wash. 2011) (quoting Badgett v. Second State Bank, 807 P.2d 356, 360 (Wash.

1991)). “Ordinary contract principles require that, where one party is granted

discretion under the terms of the contract, that discretion must be exercised in good

faith-a requirement that includes the duty to exercise the discretion reasonably.” Id.

(quoting Craig v. Pillsbury Non–Qualified Pension Plan, 458 F.3d 748, 752 (8th

Cir. 2006) (applying Washington law)). “Good faith limits the authority of a party

retaining discretion to interpret contract terms; it does not provide a blank check for

that party to define terms however it chooses.” Id. (quoting Scribner v. Worldcom,

Inc., 249 F.3d 902, 910 (9th Cir.2001)).

      “Importantly, a violation of the duty of good faith and fair dealing does not

require a breach of the underlying contract.” Smartwings, a.s. v. Boeing Co.,

No. C21-918, 2022 WL 579342, at *6 (W.D. Wash. Feb. 25, 2022); see also Rekhter

v. State, Dep’t of Soc. & Health Servs., 323 P.3d 1036, 1041 (Wash. 2014) (holding

“the duty of good faith and fair dealing arises when one party has discretionary

authority to determine a future contract term” and may be breached even when a

party does not breach the underlying contract). As explained in Smartwings,



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      “there is no one-size-fits-all definition of good faith and fair dealing.”
      Id. While not an exhaustive list, “[i]t may violate the duty of good faith
      and fair dealing to, for example, (1) evade the spirit of a bargain;
      (2) willfully render imperfect performance; (3) interfere with or fail to
      cooperate in the other party's performance; (4) abuse discretion granted
      under the contract; or (5) perform the contract without diligence.” Id.
      (citing Restatement (Second) of Contacts § 205 cmt. d).

2022 WL 579342, at *6 (citing Microsoft Corp. v. Motorola, Inc., 963 F. Supp. 2d

1176, 1184 (W.D. Wash. 2013)).

      Here, Griffith alleged that “[b]y failing to perform under the contract by

continuing to provide Plaintiff with free Whole Foods Market delivery with a

minimum $35 purchase during the duration of Plaintiff’s annual contract, Defendant

breached the implied covenant of good faith and fair dealing.” CAC ¶ 128, 2-ER-

310; FAC ¶ 69, 2-ER-159; see Skansgaard, 896 F. Supp. 2d at 948 (“Plaintiff has

sufficiently alleged a claim for breach of the covenant of good faith and fair dealing”

because “Plaintiff alleges Defendants unilaterally decided to require more insurance

than was required by the deed of trust.”). Griffith further alleged that Amazon

breached its duty of good faith and fair dealing “by abusing its discretion under the

Amazon Prime contract to terminate the free delivery service without refund or




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recourse to consumers and by engaging in surreptitious collection of an additional

delivery fee.” FAC ¶ 70, 2-ER-159. 7

      In dismissing Griffith’s good faith and fair dealing claim, the district court

again relied on Amazon’s alleged authority under the Prime Terms to unilaterally

remove any Prime membership benefits at any time. However, at a minimum,

Washington law requires Amazon to exercise that unilateral discretion “reasonably.”

Skansgaard, 896 F. Supp. 2d at 948. And, as the court held in Skansgaard,

“[w]hether Defendants action was reasonable is a question of fact that cannot be

determined on the motion to dismiss, and does not provide a basis to dismiss the

claim as a matter of law.” Id. The same reasoning applies here. Whether Amazon’s



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  The district court seemed to suggest that Griffith did not identify the relevant
contract terms from which her good faith and fair dealing claim arises. As an initial
matter, Griffith is not required to allege in her complaint which specific contractual
provisions relate the to the good faith and fair dealing claim. See Puget Soundkeeper
All. v. APM Terminals Tacoma, LLC, No. C17-5016 BHS, 2020 WL 12583074, at
*2 (W.D. Wash. Nov. 19, 2020) (“APMT cites no authority for the proposition that
a party must specifically identify the provision of the contract relating to the breach
of the implied duty of good faith and fair dealing. Moreover, the Court will not
require the Port to file an amended pleading for an issue that may be easily resolved
with a targeted discovery request.”). More importantly, it is clear that her claims
arise from two specific terms: first, the promise of free Whole Foods delivery that
she has alleged was integrated into Amazon’s contract with Prime members and that
was breached by Amazon’s imposition of a $9.95 delivery fee; and second, the Prime
term that allows Amazon to unilaterally add or remove Prime benefits, which
Griffith alleges Amazon invoked unreasonably and abused its discretion in
exercising this case.

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action in terminating the free Whole Foods delivery service was reasonable or

whether Amazon abused its discretion under the contract is a question of fact that

cannot be decided on a motion to dismiss. See Encore D.E.C., LLC v. APES I, LLC,

No. 14-6006 RJB, 2015 WL 5007773, at *9 (W.D. Wash. Aug. 20, 2015) (finding

“[t]here are issues of fact as to whether Defendants violated the duty of good faith

and fair dealing in relation” to the contractual terms and that “Defendants’ motion

to dismiss this claim should be denied.”).

      Indeed, the district court’s conclusion that the contract gives Amazon

unfettered discretion to unilaterally remove Prime benefits proves that this exactly

the type of situation in which the duty of good faith and fair dealing must apply.

According to the district court’s construction of the contract, Amazon can remove

and replace any benefit regardless of the reasonable expectations of consumers or

the benefits value to them. Thus, in the district court’s view, Amazon could remove

all free delivery, free video and game streaming, and free e-book access, and leave

only a few benefits of much lower value, like on-line photo storage, without giving

annual Prime subscribers any refund or practical ability to cancel. This would surely

be unreasonable. But the fact that there must be some line between Amazon’s

reasonable and unreasonable exercise of its discretion to remove benefits proves that

the duty of good faith adheres, and that the district court erred in deciding as a matter



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of law that it did not apply to Amazon’s decision to terminate the free Whole Foods

delivery service.

      In addition, reading the CAC and FAC in their entireties as required on a

motion to dismiss, see Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 46 (2011),

Griffith alleged more than “enough facts to state a claim to relief that is plausible on

its face” that the manner in which Amazon charged the Whole Foods delivery service

fee to Prime members, after previously promoting free delivery as an inducement to

subscribe: (1) evaded the spirit of the bargain between Amazon and its customers;

(2) constituted a willful rendering of imperfect performance on the part of Amazon;

and/or (3) constituted an abuse of discretion under the Prime Terms and Conditions.

See Smartwings, 2022 WL 579342, at *6; Accretive, 2015 WL 4920079, at *9

(holding that plaintiff stated plausible good faith and fair dealing claim where

defendant interpreted limitation of warranty provision to keep “the entirety of the

money paid” to it without providing plaintiff “the full benefit—any benefit—of its

performance under the Agreement”). Finally, Griffith also alleged that Amazon

imposed the $9.95 delivery fee in bad faith, including through employment of bait-

and-switch advertising and surreptitious addition of the fee during the order process.

See, e.g., FAC ¶¶ 12-19 21-23, 32-33, 35, 38, 40, 2-ER-146-154. These allegations

are all plausible and sufficient for the claim to survive a motion to dismiss.



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      The district court’s reliance on Marquez was again misplaced. Marquez

concluded that Amazon did not breach its duty of good faith and fair dealing in that

case because the company had unconditional authority to suspend Rapid Delivery of

some goods, the Prime contract conditioned Rapid Delivery on an “as is” and “as

available” basis, and consumers had the right to cancel their Prime subscriptions if

they disagreed with Amazon’s modification of the contract. Here, however, Amazon

did not have unfettered authority to start charging deceptive delivery fees after

specifically promising (and integrating in the contract) “free” Whole Foods delivery,

the “as available” clause of the Prime contract is not at issue (because delivery from

Whole Foods was still available, albeit at a newly imposed price), and customers

could not cancel their annual memberships and get a refund. Thus, Griffith has

plausibly alleged that Amazon breached its duty of good faith and fair dealing by

abusing its discretion under the contract to terminate the free Whole Foods delivery

service without any refund or recourse to consumers and by engaging in surreptitious

collection of an additional delivery fee.

      Similarly, in SAK & Assocs., Inc. v. Ferguson Const., Inc., the court held that

there was no breach of the duty of good faith and fair dealing and the underlying

contract was not illusory when the defendant invoked a termination for convenience

clause partway through contract performance. 357 P.3d 671 (Wash. Ct. App. 2015).



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However, the court indicated that it would have reached a different conclusion if

there had been evidence of unreasonableness or bad faith or a disproportionate

impact on the parties’ rights and obligations from defendant’s use of the clause:

      We are not faced with an attempt to invoke a termination for
      convenience clause before the commencement of any work or only after
      a nominal amount of work. Here, SAK completed 24 percent of the
      project, and Ferguson paid a proportionate amount of the fixed contract
      price. This level of partial performance provides adequate
      consideration.
357 P.3d at 676. That is quite different from the situation alleged here. To begin,

Griffith alleged that Amazon improperly induced her and other consumers to

subscribe to Prime based on the promise of ongoing free Whole Foods deliveries

before unilaterally changing the deal. On top of that, she alleged that there was no

proportionality in contract performance or consideration between the parties: while

she and other consumers remained locked into the full term and cost of their annual

Prime memberships, Amazon simply stopped performing a valuable part of the

services it had promised.

      In short, even if the Prime Terms allow Amazon to unilaterally terminate

Prime benefits at will, it must exercise that discretion reasonably and in good faith.

Griffith plausibly alleged that Amazon did not do so, and the Court should reverse

the district court’s dismissal of Griffith’s breach of good faith and fair dealing claim.




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                                 CONCLUSION

      For the foregoing reasons, the Court should reverse the judgment of the

district court, hold that Plaintiff plausibly alleged violations of the Washington

Consumer Protection Act, breach of contract, and breach of the duty of good faith

and fair dealing, and remand for further proceedings on those claims.

RESPECTFULLY SUBMITTED this 2nd day of December, 2024.


            s/ Adam J. Berger
            ADAM J. BERGER
            SCHROETER GOLDMARK & BENDER
            401 Union Street, Suite 3400
            Seattle, WA 98101
            Telephone: (206) 622-8000
            berger@sgb-law.com
            BORDE LAW PLLC
            Manish Borde, WSBA #39503
            600 Stewart St., 400
            Seattle, WA 98101
            Telephone: (206) 531-2722
            mborde@bordelaw.com
            LAW OFFICES OF RONALD A. MARRON
            Ronald A. Marron (pro hac vice)
            Michael T. Houchin (pro hac vice)
            Lilach Halperin (pro hac vice)
            651 Arroyo Drive
            San Diego, CA 92103
            Telephone: (619) 696-9006
            ron@consumersadvocates.com
            mike@consumersadvocates.com
            lilach@consumersadvocates.com
            Counsel for Plaintiff-Appellant




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      This brief complies with the type-volume limitation of Circuit Rule 32-1

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      December 2, 2024                             s/Adam J. Berger
                                                   Adam J. Berger

                                                   Counsel for Plaintiff-Appellant




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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of Court

for the United States Court of Appeals for the Ninth Circuit by using the appellate

CM/ECF system on December 2, 2024. I certify that all participants in the case are

registered CM/ECF users and will be served via the CM/ECF system.

      December 2, 2024                               s/Adam J. Berger
                                                     Adam J. Berger

                                                     Counsel for Plaintiff-Appellant




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